
THE COURT.
—  The questions involved in this case are in all respects the same as those in Hammond Lumber Co. v. Richardson Building &amp; Engineering Co., Inc., et al. (L. A. No. 10031), ante, p. 82 [285 Pac. 851], this day decided by this court, except that the court found in this case that the reasonable value of the materials furnished by the plaintiff is $7,936.68.
On the authority of the decision in that ease the judgment herein in favor of the plaintiff against defendant Richardson Building &amp; Engineering Co., Inc., is affirmed. The judgment in favor of defendants Ella W. Richardson, E. Will Richardson and W. C. B. Richardson against the plaintiff is reversed, and the trial court is directed to enter judgment on the findings in favor of the plaintiff against said defendants Ella W. Richardson, E. Will Richardson and W. C. B. Richardson for the sum of $7,936.68 and costs of suit.
